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AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV               u Original                u Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                                District
                                                          __________     of Columbia
                                                                     District of __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No. 19-sw-180
      ONE U.S. POSTAL SERVICE PARCEL LOCATED                                )
      AT THE WASHINGTON GENERAL MAIL FACILITY,                              )
                  WASHINGTON, DC                                            )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                                  District of            Columbia
(identify the person or describe the property to be searched and give its location):
  See Attachment A.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B.




         YOU ARE COMMANDED to execute this warrant on or before                   May 27, 2019          (not to exceed 14 days)
       u in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                                u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                        G. Michael Harvey                    .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                   .


Date and time issued:          05/15/2019 3:00 pm
                                                                                                          Judge’s signature

City and state: Washington, D.C.                                                         G. Michael Harvey, U.S. Magistrate Judge
                                                                                                        Printed name and title
                           Case 1:19-sw-00180-GMH Document 1 Filed 05/15/19 Page 3 of 11
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
 19-sw-180
Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
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                         ATTACHMENT A (“SUBJECT PARCEL”)

                                     Property to be Searched

       An Express mail U.S. Postal box bearing tracking number EE478914877US, which is

currently located at the Washington General Mail Facility in Washington, D.C. and for which is

further described in the enclosed chart.

Subject     Express (E) or Priority (P)     From:                       To:
Parcel      and Tracking ID number          Name and Address            Name and Address


1.          (E) EE 478 914 877 US           Robert Smith                Michelle Smith
                                            950 Del Amo Blvd            2040 W Virginia Ave NE
                                            Carson, CA 90746            Washington DC 20002


                                       ATTACHMENT B

                                       Property to be Seized

       The items to be seized are fruits, evidence, information, contraband, or instrumentalities,
in whatever form and however stored, relating to violations of: possession with intent to distribute
and distribution of controlled substances, in violation of 21 U.S.C. § 841(a)(1) and use of a
communication facility to facilitate the commission of a federal drug felony, in violation of 21
U.S.C. § 843(b) (the “TARGET OFFENSES”), including, but not limited to:

       1.      Drugs and cutting agents, which is evidence of the TARGET OFFENSES;

      2.     Packaging materials, which may contain evidence of the identity of the individuals
who committed the TARGET OFFENSES; and

       3.      Documents related to or memorializing the ordering, purchasing, storage,
transportation and sale of controlled substances, which is evidence of the TARGET OFFENSES.
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE SEARCH OF:
                                                       Case No. 19-sw-180
 ONE U.S. POSTAL SERVICE PARCEL
 LOCATED AT THE WASHINGTON
 GENERAL MAIL FACILITY,
 WASHINGTON, DC

    AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR A SEARCH WARRANT

       Your affiant, James Ussery, United States Postal Inspector, Washington DC, being duly

sworn, affirms, and swears as follows:

         INTRODUCTION AND AFFIANT BACKGROUND AND EXPERIENCE

       1.      Your affiant makes this affidavit in support of an application under Rule 41 of the

Federal Rules of Criminal Procedure for a warrant to search an Express mail U.S. Postal box

bearing tracking number EE478914877US, which is currently located in Washington, D.C.,

hereafter, the “SUBJECT PARCEL,” as further described in Attachment A (incorporated here by

reference) for the items described in Attachment B (incorporated here by reference).

       2.      Your affiant, James Ussery, has been a United States Postal Inspector since July

2014 and has completed twelve weeks of basic investigative training in Potomac, Maryland, which

involved various aspects of federal law enforcement, to include, the investigation of narcotics-

related offenses. Prior to being a United States Postal Inspector, your affiant was a Federal Air

Marshal for the Federal Air Marshal Service for five years, between 2010 and 2014. Prior to being

a Federal Air Marshal, your affiant was a Police Officer with the city of Atlanta between 2006 and

2010. With this experience, your affiant has participated in investigations involving possession

with intent to distribute and distribution of controlled substances. Your affiant has participated in

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interdictions, control deliveries, seizures, and search warrants that resulted in criminal arrest and

prosecution. As a result of your affiant’s training and experience, your affiant is aware that Priority

Mail Express and Priority Mail services are regularly used by narcotic traffickers to ship controlled

substances and bulk cash through the US Mail.

       3.      Based upon my training and experience in the field of narcotic interdiction through

the mails, I know that there are suspicious characteristics common to many packages that contain

narcotics, controlled substances or the proceeds thereof (i.e. US currency). These factors, more

fully detailed below, are used to identify packages requiring further investigation. In the case of

this search warrant, several of these factors were identified for the one package, and the package

was alerted to by the drug detection canine. The most common factors or suspicious characteristics

routinely observed in the course of screening packages are as follows:

       a.      Contrasts observed between legitimate business parcels and drug parcels: As an

alternative to First Class Mail (which does not provide a customer with the capability to track the

progress of a parcel through the system), the US Postal Service offers Priority Mail Express and

Priority Mail. Priority Mail Express is guaranteed (money back) to be delivered on a set date and

time, usually overnight. (That deadline is determined at the time of mailing.) The customer

receives a receipt with this guaranteed information, and the sender can opt for a signature

requirement at the other end or not. Customers can track the parcel on line by its distinct Priority

Mail Express tracking number. The weight of the package and the distance traveled are the two

main factors in setting the price. Priority Mail Express costs more than Priority Mail. Priority Mail

has a delivery service standard of 1-3 business days, but delivery within that time period is not

guaranteed. Priority Mail is a less expensive alternative to Priority Mail Express, but still provides

the ability to track a parcel. Legitimate businesses using Priority Mail Express typically have a

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business or corporate account visible on the mailing label, which covers the cost of the mailing.

In contrast, the drug distributor will pay for the cost of mailing the package at the counter by using

cash or a credit card. Business Priority Mail Express parcels typically weigh no more than 8

ounces, and business Priority Mail parcels typically weigh no more than 2 pounds. Drug packages

typically exceed these weights. Address labels on business parcels are typically typed, whereas

those on drug packages are typically handwritten. In your affiant’s experience, it is fairly easy to

separate out smaller parcels, which constitute 70% to 80% of all Priority Mail Express and Priority

Mail parcels, from other, heavier parcels. Typically, drug traffickers use Priority Mail Express and

will opt out of the requirement of obtaining a signature upon delivery.

       b.      Invalid Sender/Return Address: When drugs are shipped through the mail, the

senders generally do not want them back. To distance themselves from parcels containing drugs,

often the return addresses and the names of senders are fictitious or false. A fictitious or false

address is anything from an incorrect zip code, to a non-existent house number or street. The name

of the sender is also typically invalid in one of several ways. Your affiant has seen packages sent

by persons with names of celebrities, cartoon characters, or fictional names. More often a search

of a law enforcement database reflects that there is no association between the name of the sender

and the address provided.

       c.      Invalid Recipient/Address: It would be counter-productive to put the wrong

receiving address on a package, but often the named recipient is not actually associated with the

receiving address. This allows the person receiving the package to claim that they did not know

about its contents. Sometimes drug packages are addressed to vacant properties with the

expectation that the postal carrier will just leave it at the address. The intended recipient will then

retrieve it from that location and hope to remain anonymous.

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       d.       Location of Sender: The fact that a package was sent from narcotics source states

such as Arizona, California, Texas, Nevada, Washington, Colorado, Puerto Rico and Florida

(among others, including countries such as China, Netherlands, and various African nations) can

also indicate that the parcel contains controlled substances.

       e.       Smell: The odor of cocaine, marijuana, and methamphetamine are distinct, and

through experience postal inspectors are familiar with these odors. On occasion, a parcel will emit

an odor that is easily recognized without the assistance of a canine. Other smells that suggest that

a parcel may contain narcotics include the aroma of masking agents. Common masking agents

used in an attempt to thwart detection by law enforcement and canines typically include dryer

sheets, coffee, mustard, and any other substance that releases a strong smell.

       f.       Heavy Taping: Heavily taped parcels are another factor that will suggest a drug

parcel, because narcotics parcels are heavily taped in an effort to keep the smell inside and to

forestall easy checking on the interior contents by lifting up a flap. For this reason, your affiant

has also observed excessive glue on the flaps of narcotics parcels as well.

       g.       Click-N-Ship: The US Postal Service created Click-N-Ship as a service for frequent

mailers and businesses who prefer printing address labels and purchasing postage from their

residence or business. Drug traffickers create Click-N-Ship accounts as a means of giving a

legitimate appearance to their drug mailings. They create the accounts using fictitious account

information and often provide pre-paid credit cards as a means of payment, which are difficult to

track. Drug traffickers often use legitimate business return addresses in states other than California

and Arizona as a means to deter detection, as these other states are not usually considered “source”

states for controlled substances. The postage labels are printed/typed, unlike the typical drug

related mailing label that is handwritten.

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          4.   It is your affiant’s experience that when these factors are observed, a drug detection

K-9 will likely “alert,” next to the parcel, indicating that the dog has detected the presence of

narcotics. As a result, these factors become a reliable way to profile the parcels being shipped

every day.

          5.   The facts contained in this affidavit are based on my personal knowledge as well as

that of the other agents involved in this investigation. All observations that were not made

personally by me were related to me by persons with knowledge. This affidavit contains that

information necessary to establish probable cause to support an application for a search warrant.

This affidavit is not intended to include each and every fact and matter observed by or made known

to agents of the government. This affidavit is intended to show merely that there is sufficient

probable cause for the requested warrant, and does not set forth all of my knowledge about this

matter.

                             REQUESTED SEARCH WARRANT

          4.   As described in greater detail below, there is probable cause to believe that within

the confines of the “SUBJECT PARCEL,” as defined more fully in Attachment A, there exists

evidence and instrumentalities of the commission of the offenses of possession with intent to

distribute and distribution of controlled substances, in violation of 21 U.S.C. § 841(a)(1) and use

of a communication facility to facilitate the commission of a federal drug felony, in violation of

21 U.S.C. § 843(b) (the “TARGET OFFENSES”), as set forth more fully in Attachment B.

                                      PROBABLE CAUSE

          5.   As detailed in the enclosed chart, the SUBJECT PARCEL has a number of

suspicions characteristics (that were discussed and explained above), most notably, which includes

the sender and recipient names not associated with their corresponding addresses, a handwritten

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label, departure from a point source for narcotics (i.e., California), and most notably a positive

narcotics canine hit:

    Subject     From        Weight:         Label:       Senders’    Recipients’       Canine
    Parcel      Source                                    name         name            Alert?
    Express     State:                                  associated   associated
       or                                                  with         with
    Priority                                             address?     address?
                                                         Yes / No     Yes / No
                             8 lbs 10                      No
    Express    Yes – CA                  Handwritten                      No             Yes
                             ounces

        6.     The suspicious characteristics listed above were identified while the SUBJECT

PARCEL was in the mail stream, and on May 11, 2019, your affiant removed the SUBJECT

PARCEL from the mail stream and made use of law enforcement and other databases to make

determinations about the lack of associations between senders/recipients and the addresses listed

on the parcels. Your affiant also followed standard protocol for canine detection to determine

whether there was probable cause that the SUBJECT PARCEL contained narcotics. After being

removed from the mail stream, on May 14, 2019, the SUBJECT PARCEL was individually placed

in a secure area next to several other empty and unused boxes at the Washington General Mail

Facility. At that time, narcotic detection canine, Max 1 was brought forward to scan the group of

boxes, which included the individual SUBJECT PARCEL and the empty and unused boxes placed

around the SUBJECT PARCEL. The handler, Metropolitan Police Department Detective Vincent

Witkowski, observed the canine and then informed agents whether the dog alerted on the

SUBJECT PARCEL. As indicated in the chart, the drug detection dog alerted to the presence of



1
  “Max” was most recently certified in February 2019 to alert on odors of marijuana (THC),
cocaine, crack cocaine, heroin, ecstasy and methamphetamine and is trained to ensure his accuracy.

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